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UNITED sTA TES DISTRICT COURT F"~ED B"' ~ ' D.C.
WESTERN DISTRICT 0F TENNESSEE@S JUL 25 F,H 3: 3b

 

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RODNEY LOUIS HARPER, .IUDGMENT IN A CIVIL CASE
Plaintiff,
v.
THE FRESH MARKET, INC., CASE NO: 2:04-2292-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of Dismissal With
Prejudice entered on .Iuly 22, 2005, this cause is hereby dismissed With prejudice.

  
 

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Date Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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Honorable J. Breen
US DISTRICT COURT

